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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

BRUCE INGRAHAM; HOLLY INGRAHAM,

                                          Plaintiffs,

        v.                                                                           1:20-CV-0147

ANDREW CUMO, JR.,1 et al.,

                           Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                          DECISION and ORDER

I.      INTRODUCTION

        This pro se action was referred to the Hon. Christian F. Hummel, United States

Magistrate Judge, to review Plaintiffs’ in forma pauperis applications and for an initial

review of their complaint pursuant to 28 U.S.C. § 1915(e). Magistrate Judge Hummel

recommends that because “Plaintiffs’ complaint completely fails to meet the pleading

guidelines of Federal Rules of Civil Procedure 8 and 10," and because the factual

allegations in the complaint fail to provide the Court with any “means by which to assess

whether this Court’s jurisdiction or venue is proper,” Rep.-Rec. & Ord., Dkt. No. 6 at 5, the

complaint be dismissed without prejudice to amendment. Id. at 6. Plaintiffs failed to file


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           Plaintiffs identify the first defendant as “Andrew Cumo Jr” who holds the official position of “Govener”
[sic] in Albany, NY, Dkt. No. 1 at ¶ 3, which is apparently a misspelling of New York State Governor Andrew
Cuomo’s name. Because the complaint is dismissed without prejudice to amendment, there is no need to
correct the docket at this time.

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timely objections but filed an untimely letter that, liberally construed, appears to indicate an

intent to file an amended complaint but requests additional time to so because of

circumstances in Plaintiffs’ personal lives. See Dkt. No. 7.

II.       DISCUSSION

          After examining the record, this Court has determined that the recommendation in

the Report-Recommendation and Order to dismiss the complaint without prejudice to

amendment is not subject to attack for plain error or manifest injustice. Further, even if the

Plaintiffs’ letter is treated as an objection, the Court has completed a de novo review and

has determined to adopt Magistrate Judge Hummel’s recommendation for the reasons

stated in his report. The Court will add additional time for Plaintiffs to file an amended

complaint.

III.      CONCLUSION

          Accordingly, the Court ACCEPTS AND ADOPTS Magistrate Judge Hummel’s

recommendation in the February 27, 2020 Report-Recommendation and Order (Dkt. No.

6) to dismiss the complaint without prejudice to amendment. It is hereby

          ORDERED that Plaintiffs’ complaint (Dkt. No. 1) is DISMISSED without prejudice

to amendment; and it is further

          ORDERED that Plaintiffs are provided sixty (60) days from the date of this Decision

and Order to file an amended complaint. Plaintiffs are advised that an amended complaint

supersedes in all respects the prior pleading. Any amended complaint must be a

complete pleading and include all facts and claims that Plaintiffs proceed on, and must

attempt to cure the defeciencies in the complaint identified by Magistrate Judge Hummel in



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his Report-Recommendation and Order. Therefore, if Plaintiffs file an amended complaint,

they must properly allege in the amended complaint all factual bases for all claims

asserted therein, must identify the dates and locations of the underlying acts that

they contend provide the bases of their claims, identify a basis for federal

jurisdiciton (see 28 U.S.C. §§ 1330 -1369), and the amended complaint must be in

compliance with Rules 8 and 10 of the Federal Rules of Civil Procedure. If Plaintiffs

file an amended complaint within the time frame set forth herein, the Clerk of the Court is

to return the case to Magistrate Judge Hummel for review of the amended complaint; and

it is further

        ORDERED that should Plaintiffs decline to file an amended complaint within the

time frame set forth herein, the Clerk of the Court may close this action without further

order from the Court.

IT IS SO ORDERED.

Dated: April 20, 2020




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